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 8                               UNITED STATES DISTRICT COURT
 9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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11   MICHAEL BRANG, individually and on               Case No.: 2:19-cv-04186-FMO-KS
     behalf of all others similarly situated,
12                                                    Hon. Fernando M. Olguin
                    Plaintiff,
13                                                    ORDER APPROVING
       v.                                             STIPULATION TO EXTEND
14                                                    DEADLINE TO FILE MOTION FOR
     THREE B FINANCIAL, LLC, DOES                     CLASS CERTIFICATION AND
15   1 through 10, inclusive,                         PRELIMINARY APPROVAL OF
                                                      SETTLEMENT AGREEMENT
16                  Defendants.
                                                      [No Hearing Required]
17
                                                      Action Filed: May 14, 2019
18                                                    Trial Date:   N/A
19

20           The Court having considered the Stipulation to Extend Deadline to File Motion
21   for Class Certification and Preliminary Approval of Settlement Agreement entered
22   into by and between plaintiff MICHAEL BRANG (“Plaintiff”) and defendant THREE
23   B FINANCIAL, LLC (“Defendant”) and good cause appearing therefore,
24           IT IS ORDERED that the Stipulation is APPROVED.
25   ///
26   ///
27   ///
28
                                               1                CASE NO.: 2:19-cv-05857-FMO-PJW
                            ORDER GRANTING STIPULATION RE DEFENDANT’S
                                RESPONSE TO PLAINTIFF’S COMPLAINT
     1481834.1
Case 2:19-cv-04186-FMO-KS Document 15 Filed 10/02/19 Page 2 of 2 Page ID #:47



 1           IT IS FURTHER ORDERED that Plaintiff shall have until October 21, 2019,
 2   to file and serve the Motion.
 3           IT IS SO ORDERED.
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 5   Dated: October 2, 2019                       _________/s/___________________
 6                                                FERNANDO M. OLGUIN
                                                  UNITED STATES DISTRICT JUDGE
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                                             2                CASE NO.: 2:19-cv-05857-FMO-PJW
                          ORDER GRANTING STIPULATION RE DEFENDANT’S
                              RESPONSE TO PLAINTIFF’S COMPLAINT
     1481834.1
